Case 1:16-cv-01942-TWP-DML Document 116-1 Filed 04/10/18 Page 1 of 3 PageID #: 1006




Von Duprin Allegation                    Major Holdings, LLC      Major Tool and Machine,
                                         Answer [Dkt. 46]         Inc. Answer [Dkt. 68]
23. Von Duprin, Moran, Major             Major Holdings states    Major Tool states that
Holdings, Major Tool, and Zimmer         that paragraph 23 is a   paragraph 23 is a
Paper are “persons” as defined by        conclusion of law to     conclusion of law to which
Section 101(21) of CERCLA, 42            which no response is     no response is required.
U.S.C. § 9601(21).                       required.
27. The Moran Property is a              Major Holdings states    Major Tool states that
“facility” within the meaning of         that paragraph 27 is a   paragraph 27 is a
Section 101(9) of CERCLA, 42             conclusion of law to     conclusion of law to which
U.S.C. § 9601(9).                        which no response is     no response is required.
                                         required.
28. There has been a “release” or        Major Holdings states    Major Tool states that
“threatened release” of hazardous        that paragraph 28 is a   paragraph 28 is a
substances at the Moran Property         conclusion of law to     conclusion of law to which
within the meaning of Sections           which no response is     no response is required.
101(22) and 107(a) of CERCLA, 42         required.
U.S.C. §§ 9601(22) and 9607(a).
29. The Contaminants detected at         Major Holdings states    Major Tool states that
the Moran Property are “hazardous        that paragraph 29 is a   paragraph 29 is a
substances” as defined by Section        conclusion of law to     conclusion of law to which
101(14) of CERCLA, 42 U.S.C. §           which no response is     no response is required.
9601(14).                                required.
30. The Ertel Facility is a “facility”   Major Holdings states    Major Tool states that
within the meaning of Section            that paragraph 30 is a   paragraph 30 is a
101(9) of CERCLA, 42 U.S.C. §            conclusion of law to     conclusion of law to which
9601(9).                                 which no response is     no response is required.
                                         required.
31. There has been a “release” or        Major Holdings states    Major Tool states that
“threatened release” of hazardous        that paragraph 31 is a   paragraph 31 is a
substances at the Ertel Facility         conclusion of law to     conclusion of law to which
within the meaning of Sections           which no response is     no response is required.
101(22) and 107(a) of CERCLA, 42         required.
U.S.C. §§ 9601(22) and 9607(a).
32. The Contaminants detected at         Major Holdings states    Major Tool states that
the Ertel Facility are “hazardous        that paragraph 32 is a   paragraph 32 is a
substances” as                           conclusion of law to     conclusion of law to which
defined by Section 101(14) of            which no response is     no response is required.
CERCLA, 42 U.S.C. § 9601(14).            required.
33. The Zimmer Paper Parcel is a         Major Holdings states    Major Tool states that
“facility” within the meaning of         that paragraph 33 is a   paragraph 33 is a
Section 101(9) of CERCLA, 42             conclusion of law to     conclusion of law to which
U.S.C. § 9601(9).                        which no response is     no response is required.


                                         EXHIBIT 1
Case 1:16-cv-01942-TWP-DML Document 116-1 Filed 04/10/18 Page 2 of 3 PageID #: 1007




                                     required.
34. There has been a “release” or    Major Holdings states    Major Tool states that
“threatened release” of hazardous    that paragraph 34 is a   paragraph 34 is a
substances at the Zimmer Paper       conclusion of law to     conclusion of law to which
Parcel within the meaning of         which no response is     no response is required.
Sections 101(22) and 107(a) of       required.
CERCLA, 42 U.S.C. §§ 9601(22) and
9607(a).
35. The Contaminants detected at     Major Holdings states    Major Tool states that
the Zimmer Paper Parcel are          that paragraph 35 is a   paragraph 35 is a
“hazardous substances” as defined    conclusion of law to     conclusion of law to which
by Section 101(14) of CERCLA, 42     which no response is     no response is required.
U.S.C. § 9601(14).                   required.
36. The Zimmer Packaging Facility    Major Holdings states    Major Tool states that
is a “facility” within the meaning   that paragraph 36 is a   paragraph 36 is a
of Section 101(9) of CERCLA, 42      conclusion of law to     conclusion of law to which
U.S.C. § 9601(9).                    which no response is     no response is required.
                                     required.
37. There has been a “release” or    Major Holdings states    Major Tool states that
“threatened release” of hazardous    that paragraph 37 is a   paragraph 37 is a
substances at the Zimmer             conclusion of law to     conclusion of law to which
Packaging Facility within the        which no response is     no response is required.
meaning of Sections 101(22) and      required.
107(a) of CERCLA, 42 U.S.C. §§
9601(22) and 9607(a).
38. The Contaminants detected at     Major Holdings states    Major Tool states that
the Zimmer Packaging Facility are    that paragraph 38 is a   paragraph 38 is a
“hazardous substances” as defined    conclusion of law to     conclusion of law to which
by Section 101(14) of CERCLA, 42     which no response is     no response is required.
U.S.C. § 9601(14).                   required.
48. Von Duprin and Moran are each    Major Holdings states    Major Tool states that
a “person” within the meaning of     that paragraph 48 is a   paragraph 48 is a
IND. CODE § 13-30-9-2.               conclusion of law to     conclusion of law to which
                                     which no response is     no response is required.
                                     required.
53. Indiana Code § 13-30-9 et seq.   Major Holdings states    Major Tool states that
provides for the recovery of         that paragraph 53 is a   paragraph 53 is a
reasonable costs of environmental    conclusion of law to     conclusion of law to which
assessment and removal and           which no response is     no response is required.
remedial actions, as well as         required.
attorneys’ fees, from persons who
caused or contributed to the
releases of a hazardous substance

                                            2
Case 1:16-cv-01942-TWP-DML Document 116-1 Filed 04/10/18 Page 3 of 3 PageID #: 1008




that pose a risk to human health or
the environment.
78. Von Duprin and Zimmer Paper       Major Holdings states    Major Tool states that
are each a “person” within the        that paragraph 78 is a   paragraph 78 is a
meaning of IND. CODE § 13-30-9-2.     conclusion of law to     conclusion of law to
                                      which no response is     which no response is
                                      required.                required.
83. Indiana Code § 13-30-9 et seq.    Major Holdings states    Major Tool states that
provides for the recovery of          that paragraph 83 is a   paragraph 83 is a
reasonable costs of environmental     conclusion of law to     conclusion of law to which
assessment and removal and            which no response is     no response is required.
remedial actions, as well as          required.
attorneys’ fees, from persons who
caused or contributed to the
releases of a hazardous substance
that pose a risk to human health or
the environment.




                                             3
